Case:23-13858-JGR Doc#:70 Filed:02/16/24                  Entered:02/16/24 16:15:16 Page1 of 1




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO



In re:                                                            Case No. 23-13858-JGR

Sandra Rosemary Oldenburg dba Noco Real                                 (Chapter 13)
Estate Solutions, Inc. Dba Poudre Property
Services aka Sandra Rosemary Bickerton                         Judge Joseph G. Rosania Jr.
Lee Michael Oldenburg,

                Debtors.

    ORDER RE: UNOPPOSED MOTION TO CONTINUE PRELIMINARY HEARING


       The Court, having reviewed PNC Bank, National Association’s Unopposed Motion to
Continue Preliminary Hearing RQLWV0RWLRQIRU5HOLHIIURP6WD\,

        HEREBY ORDERS that the WHOHSKRQLF Preliminary Hearing on Movant’s Motion for
Relief from Stay and Debtors' Objection thereto currently scheduled for Wednesday, February
21, 2024 at 3:00 p.m. is VACATED DQG CONTINUED to Tuesday, March 19, 2024 at 1:00
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File No. CO-23-174736                                                            Case No. 23-13858-JGR
